                                Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 1 of 20
²²bI
  6­RR@IJ@MNIE@IJ?BCAGMIBJ@MB@IKDJMI?Q@MND@HGED³@                                                                  66
  ¥264649368961896ª«6                                                                                                            6
  ­4º»
    ¼½¾¿ÀÁÂ­
                              666¬292368166Ã¿
                                                  ÄÅÆ6
                                                 466
      6 96®¯°±«666ª496ÇÇ    6                                                                                                                           ©6ª36216ª262646
                                                                                                                                                                                                        4 612526

011232456789 6 6
 !"#$%&'()*$+$+#(,&(- #./#0+1+0"%!2(3+!+#4(,&(5%#6&"7$8'(                                                                                                                                                                9:;<=    (
>?@ABCD@EFGHD@IE@JDDKDKL@GMMGHN@G@EDFGCGMD@ENDDM@MB@MNIE@?BCAO@PJ@MND@MBF@B?@GJQ@GKKIMIBJGR@FGSDEL@TCIMD@MND@UVWXYZ[\@JGAD@GJK@MND@HGED@
J]A^DC@_I?@`JBTJaO@@bBC@ABCD@IJ?BCAGMIBJL@G@EDFGCGMD@KBH]ADJML@cdefghifjkdelmkglnodpghqfirlskgtelmkglukdvcdwjxjwhoyez@IE@G{GIRG^RDO@

<O@|VWXYZ[\}~V@                  ÈÉ
                                    ÊË
                                          ÌÉÍÎ
                                              Î    ÏÐÉÑÒÓ ÔÊÌÕ 6
6
   @                               6

O@RR@BMNDC@JGADE@KD^MBC@]EDK@ 6
   IJ@MND@RGEM@@QDGCE@            6
   356464 64 6 6
                                                                                                                                                                                                                                      6
   9464 64 @
   4 6
   @                               6
O@|VWXYZ[\}DKDCGR@AFRBQDC@       6666666´
     >KDJMI?IHGMIBJ@]A^DC@@ Ö×          µµ
                                                   µ6µ
                                                      6¶
                                                       µ
                                                        µ
                                                         µµ
                                                           66·
                                                             µ
                                                              µ
                                                               µµ
                                                                 6·
                                                                  6µ
                                                                    µµ
                                                                      µ̧µ
                                                                       66µµ
                                                                            µ̧µ
                                                                             66µµ
                                                                                  µ¹
                                                                                    66
@
:O@|VWXYZ[\}UUZV\\@                                          CIJHIFGR@FRGHD@B?@^]EIJDEE@                                                           GIRIJS@GKKCDEEL@I?@KI??DCDJM@?CBA@FCIJHIFGR@FRGHD@
                                                                                                                                                6
                                                                                                                                                     B?@^]EIJDEE6
                                                              Ø
                                                               Ù
                                                                Ù
                                                                  Ú
                                                                   Ø
                                                                     ÛÜÝÞ
                                                                          ßÞ
                                                                                    à
                                                                                     6                                       6
                                                               96 96                                                                         96 96
                                                              6                                        6
                                                                                                                                                     068 6
                                                              áâ
                                                               ã
                                                                  ãä
                                                                     âåæçèéêëìí6                             6
                                                              26                           46 6866                                      26                     46 686
                                                                                                                                                     ¡BHGMIBJ@B?@FCIJHIFGR@GEEDMEL@I?@KI??DCDJM@?CBA@
                                                                                                                                                     FCIJHIFGR@FRGHD@B?@^]EIJDEE6
                                                              î
                                                               Å
                                                                ï
                                                                  »¼
                                                                     À
                                                                      ð
                                                                       ¾¿
                                                                           Â
                                                                            ñÅ
                                                                             À
                                                                                ò
                                                                                 Æ
                                                                                  ¾
                                                                                   6
                                                              866                                                                               6
                                                                                                                                                      96 96
                                                                                                                                                     6
                                                                                                                                                     6
                                                                                                                                                     26                     46 686
@
¢O@|VWXYZ[\}£VW\¤XV6¥¦§@@                                   óóóô
                                                               õ»
                                                                     Á
                                                                         ½
                                                                          ð
                                                                           »
                                                                            ô
                                                                              ð»õö
                                                                                   ÷ø
                                                                                      @
=O@¨QFD@B?@KD^MBC@6                                           ©6
                                                              ù 8989428623526§226§2425268 46§§646§226§242526499ª26§§6
                                                              ©6499ª2635266§§6
                                                              ©60ª96321«66
011232456789 6 6                                                      85496228618968224567252618964936                                                                        466
                       Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 2 of 20

¬
6 896       4AB
                 6CD
                         EBFG
                            G
                                 HI
                                    B
                                     J
                                       KL
                                          M
                                           C
                                            EN
                                                6                  46 96¯°±66

úO@ûDEHCI^D@UVWXYZ[\@^]EIJDEE6 üýþ0°16
                                           ©6245ª6496264612626 6¥636 4ü6
                                           ©6256ü6¦456464612626 6¥636 5 6
                                           ©6¦42598464612626 6¥636 666
                                           ©68398964612626 6¥636 57ü6
                                           ©68 82698964612626 6¥636 86
                                           ©654926464612626 6¥63649 76
                                           ©6
                                           ù86816ª648
                                   ýþ0°þ 1
                                   ©64 6264639262686¥6365 
                                   ©6369476638 4623526ª61689688562 6ª2356461262656¥6
                                   ©6 642896461262656¥6369 4 6
                                       6
                                   66ü689ª6ü 92346965421234286 66226386ª46639268966
                                       ª«3898189224284548324284233866
                                   6 O  66P66Q 66R6
O@JKDC@TNIHN@HNGFMDC@B?@MND@ ýþ0°1
   GJ`C]FMHQ@BKD@IE@MND@ ©6ª496466
   KD^MBC@?IRIJS@
                                   ©6ª4966
                                   ©6
                                   ù ª496 6ýþ0°þ «6
                                                        ©   !!! ""#"$"!"%$&'$( (()*#%'($"!(+(
                                                            22968964112524649656ª46, 588 5 64 86-36864- 686
                                                            6 64696764964196ª46
                                                        ©ª   68962646 4556268964612626 6¥636 5 ¬616ª6
                                                            8962646 455626896443ª6ª6 8693645436ª64 6
                                                            81689428634ª15864 64619456238 6469968962164556816ª6
                                                            83 6868626185586ª69839626 6¥636 86
                                                        ©6ü6546262612562ª6ª262286
                                                        ©63ü3932894632646383168ª946543662
                                                                                                          9685232692286198 686896 8963546816
                                                                                                           ª6 6¥636 86
                                                        ©6ª6896269.296861256928236989618964 56 /646 062ª6ª6
                                                               3922646 3ª468 2286433892686367689656816ª639226
                                                             3ª46ü368167667256ª61 0þ2345¯467®89
                                                            ¯4:°4 04ýþ 4;;6011232456789 6 ü62ª6ª26189 6
                                                        ©6ª668962646ª55638 464612626ª639226 3ª46ü36816766¦56
                                   ©6ª496 @
<O@=DCD@FCIBC@^GJ`C]FMHQ@HGEDE@ ©6 ù
   ?IRDK@^Q@BC@GSGIJEM@MND@KD^MBC@ ©6>86@@@¬29236666?ª666646 966
   TIMNIJ@MND@RGEM@@QDGCE@           6 6 6                                                             6 @@666¬¬66>>>>6
   16 896ª466346443ª646       6 ¬29236666?ª666646 966
   4946526                             6      6       6                           6      @@666¬¬66>>>>6

   FDJKIJS@BC@^DIJS@?IRDK@^Q@G@ ©6
<9O@CD@GJQ@^GJ`C]FMHQ@HGEDE@       686
   ^]EIJDEE@FGCMJDC@BC@GJ@         ù>66¬8966ST
                                   ©6              TUV
                                                      WT XY
                                                                  66¦5428ª266Z[
                                                                                                                    [
                                                                                                                      \
                                                                                                                       ]
                                                                                                                        \^_`6
   G??IRIGMD@B?@MND@KD^MBC@         6 ¬292366ab
                                                   c
                                                      d
                                                        efghij
                                                               kd
                                                                      gj
                                                                        l
                                                                         d
                                                                          bm
                                                                              nf
                                                                                 op
                                                                                      k
                                                                                       6?ª66 66
   §26455634616 896ª46 6   6 6 6                                                                         @@666¬¬66>>>>66
   443ª6464946526          6    46  9621
                                                        6 8  6     6
666011232456789 6 6                              85496228618968224567252618964936                                466
                      Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 3 of 20

¬
6 896     4
               6
                       
                            
                               
                                  
                                     
                                        
                                         
                                          
                                              6                                         46 96¯°±66

<<O@=NQ@IE@MND@HGED@?IRDK@IJ@fqjel ýþ0°þ 16
    wjefgjif@@                         ©6¬896ª46ª46268 23256923245654368162689692324564626ª262923618969 646
                                          2 24569326ª646816ª26228689618964658964968163ª69 646ª4626468ª96
                                          29236
                                        ©6
                                        ù r "s't#u##"#"$"!(v12524694564996896499ª26262626ª2629236
                                                                    {|}}µ~}µ
<O@ûBDE@MND@KD^MBC@BTJ@BC@NG{D@ ©6
                                  ù86
    FBEEDEEIBJ@B?@GJQ@CDGR@       ©6
    FCBFDCMQ@BC@FDCEBJGR@FCBFDCMQ@ >6ü96586189643ª69896ª4662 2464286ü43ª64228456ª62166
    MNGM@JDDKE@IAADKIGMD@          6 =NQ@KBDE@MND@FCBFDCMQ@JDDK@IAADKIGMD@GMMDJMIBJ@@ýþ0°þ 56
    GMMDJMIBJ@
                                                 ©6686896264556868646ª9468162 26462212456ª4w496865236ª45ª6896416
                                                 6 ?ª4626ª6ª4w49x66
                                                 ©666866ª2345563968969836198 6ª64ª96
                                                 ©64623528616896924ª45566852868839646468ª44566388856.62345664299268994868396586896643592622
                                                                                                                                                                                                                   ª86
                                                                                                                                                                                                                  9546
                                                   468968ª9682866
                                                 ©60ª966
                                            6 =NDCD@IE@MND@FCBFDCMQ6
                                                                        6                  96       96
                                            @                                             @                                 @
                                            @                                             6
                                                                                          @ 6 6
                                                                                          26 6                                   46 6866
                                            6 >E@MND@FCBFDCMQ@IJE]CDK@
                                              ©686
                                              ©6>694364366
                                            @                  84364 6 @
                                            6                  ª86        66

6         y$%$+2$+8%!(%#0(%0z+#+2$&%$+1*(+#,&z%$+#6

<O@ûD^MBC[\@DEMIAGMIBJ@B?@             ýþ0°1
    G{GIRG^RD@?]JKE@                    ©6
                                        ù 76255664425456189629228686396392896
                                        ©6ü196464 229426649642686162556644254561896292286863963928966
<:O@EMIAGMDK@J]A^DC@B?@
                                        ©666                                        ©6             5 6                                                ©65 5                        6
    HCDKIMBCE@                          ©65 6                                      ©65             6                                                 ©65                           6
                                        ©6   6                                     ©6              5 6                                               ©6@896ª46                         @
                                        ©6
                                        ù 6
<¢O@EMIAGMDK@GEEDME@
                                        ©6, ,5 6                                     ©6,                      , 6 255286                              ©6,5          , 625528@
                                        ©6,5 , 6                                     ©6,                       ,5 6 2552866                           ©6,             , 625528@
                                        ©6, ,5 6                                     ©6,5                      , 6 255286                             ©6,               ,5 625528@
                                        ©6,5 , 6 255286                             ©6
                                                                                      ù,                         ,5 6 255286                           ©6@896ª46,5 625528@

666011232456789 6 6                           85496228618968224567252618964936                                                                                  466
      Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 4 of 20





                                            ¡




                                  ¢£¤¥¦¤§¢¥¦
                                                      ­®¨¯°±«°¡
                          ¨©ª©«©«¬©


                       ¤¤²©³´µ¬°                 ¢£¤¥¦¤§¢¥¦

                       ²©³´µ¬°
                       ­¶·´©¸¶¶´¹ºµ»
                       ¥¦¥¦«©µ³³µ°©³¼½¢¢
                       ­«¬¬«                           ¾¿        ¦À§¢¥Á¼½§Â
                       §¥¼Á¦¼£Á¼À¢¢                     Ã©¬°Ä±¬«¸©¸Å

                       ÆÆÇÈÉÊÈÆ                         ËÌ
         Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 5 of 20



                ÙÚÛÜÝÞÛßÚÙÜÞàÛáÜâÜÞáÛãâÚäåßæÜçèÛçéßåÜÛ
                  êéåÛÜÝÞÛáéßÜÝÞåÚÛàÙáÜåÙçÜÛéêÛÜÞëâáÛ
                           ÝéßáÜéÚÛàÙìÙáÙéÚÛ
ÙíÛîïðÛ                            ÷Û
                                   ÷Û ÛÛÛçøùïÛÚöóÛúûüýýýýýýÛ
ñéÚÜçéÛéêêáÝéåÞòÛÙÚçóòÛ            ÷Û
                                   ÷Û çþø0õïîÛúúÛ
       àïôõöîóÛ                    ÷Û
                                   ÷Û
                                        å12ïîÛúÛ
         æïí21í3Ûãøí4î50õ67ÛçøùïùÛê18ï2Ûô7ÛõþïÛàïôõöîÛøí2Ûâ99181øõïùÛö9ÛõþïÛàïôõöîÛ
              !"
#  $ Ï%&'#('Ï' Ð)'
#**  **  $  Ï(Ø Ð + ,
+ ' '+-  #**. 
  /Ø
       0 .  /Ø
       0 .  ( 11(




ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
         Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 6 of 20



                   ÙÚÛÜÝÞÛßÚÙÜÞàÛáÜâÜÞáÛãâÚäåßæÜçèÛçéßåÜÛ
                     êéåÛÜÝÞÛáéßÜÝÞåÚÛàÙáÜåÙçÜÛéêÛÜÞëâáÛ
                                  ÝéßáÜéÚÛàÙìÙáÙéÚÛ
ÙíÛîïðÛ                                     ÷Û
                                            ÷Û ÛÛÛçøùïÛÚöóÛúûüýýýýýýÛ
ñéÚÜçéÛéêêáÝéåÞòÛÙÚçó                      ÷Û
                                            ÷Û çþø0õïîÛúúÛ
       àïôõöîóÛ                             ÷Û
                                            ÷Û
                                         å12ïîÛ2Û
            åïø8Ûæîö0ïîõ7ÛöîÛæïîùöíø8Ûæîö0ïîõ7ÛõþøõÛÚïï2ùÛÙ33ï21øõïÛâõõïíõ1öíÛ
        4' *Ò+--& ###
 -#++  5#'Ø
        Ð6# !"  #
 ### "#++  5 #'
 "  #'#+ "'
 #-'7'&ØÐ    
 ) ++  5!' +Ø




ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
         Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 7 of 20



                                   DEEFGHIJKLGHIMFEFGNMHL
                                        OPQRSTUUVPWXYUZ[\U=]^>U
        ;YRU_`SRWabc`RS\UQYRUdYbReUfb̀P`XbPgUheebXRWUieUVi`QXiUheeaYiWR\Uj`XC\UPUki_babP`PU
XiWliWPQbi`UmQYRUndiolP`pqr\USiRaUYRWRspUXRWQbepUQYRUeiggitb̀cUPQUP`SUPaUieUQYRUSPQRUYRWRieTU
        mbrU PQQPXYRSUPaUu``RvUuUYRWRQiUbaUPUQW_R\UXiWWRXQUP`SUXiolgRQRUXilpUieUQYRUWRaig_Qbi`aU
mQYRUnwRaig_Qbi`aqrUPSilQRSUspUtWbQQR`UXi`aR`QUi`UVPWXYUZ[\U=]^>xU
        mbbrU a_XYUwRaig_Qbi`aUtRWRUPSilQRSUspUQYRUdiolP`pUb̀UPXXiWSP`XRUtbQYUQYRUQRWoaUieU
QYRUdiolP`pyaUspgPtaxUP`SU
        mbbbrU a_XYUwRaig_Qbi`aUYPzRU`iQUsRR`UPoR`SRS\UoiSbebRSUiWUWRaXb̀SRSUab̀XRUPSilQRS\U
P`SUPWRUb̀Ue_ggUeiWXRUP`SUReeRXQUPaUieUQYRUSPQRUYRWRieCU
        j{U8j;{9::U8|9w9hf\UQYRU_`SRWabc`RSUYPaUXP_aRSUQYbaUXRWQbebXPQRUQiUsRURvRX_QRSUPaU
ieUQYRUSPQRUebWaQUaRQUeiWQYUPsizRCU




89:;<=>??@A?@BC@
         Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 8 of 20



                                    âÚÚÞëÛâ




ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
         Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 9 of 20



                             }åÙÜÜÞÚÛçéÚáÞÚÜÛéêÛ
                        ÜÝÞÛãéâåàÛéêÛàÙåÞçÜéåáÛéêÛ
                           ñéÚÜçéÛéêêáÝéåÞòÛÙÚçóÛ
       Ð% !".  /Ø#
 1'(+#!"#''  (+#~ ÎÏÎÎ%
( ÏÎÐ #  ÎÏÎÎ% Ð-'
       }ÝÞåÞâá-'# +'&
 (+#  +'
       åÞáéìÞà'# ' &-'
   (+#+#
 #' # !"'#**
 $ Ï%&'#(**$ØÏØ(Ø**6*ÔÒ%&'#(!" 
$ Ï%&'#('Ï' Ð)%&'#('!"
 +'5##'
       åÞáéìÞà &(Ø%'')'# % 
- '5!"'5+#
  + (+###)' 
'+)'-++###7'
'#++-#**  .*ÓÒ*Ó
# ###' -'+ '
)#+7'+ + + %&'#(
'%&'#'' ##)'##
 & ###    (+#~#**
'#-&'#'
       åÞáéìÞà '5 '5  +
 (+#+&'-+ +  "
'+#-' '&-'-
 '-Ð!"'
' ++## '5  
 '-' (+#"#- '
 '# +' (+#~+
+  '5    '-
'
       åÞáéìÞà " '5 '5
+#  + (+#  &')'
'-+ '+ -'  
'+  '5 ++ ###  
- Ð '- ' +  ++  +
'##+    ### '##+ '+  - 
  - '+ !"")'     -
  '+  '5  -'#+ 
ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
        Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 10 of 20



 # ++ ### '5
 ' ##'- '+  
(+# % "  '5 &
#''  ''- )' -+ 
'+ -'   '+ ' 
##(+#% '
       åÞáéìÞà + 1#11$Ï"--
&'#'(+#', 7'##%&'#
(''
       åÞáéìÞà +%& 11(--
(+#', 7'##%&'#('
'
       åÞáéìÞà '5 '5+#
  + (+#)''7'
6+ %&'#('  '5 '  
(+#~++ ##    
 ''#' ''
       åÞáéìÞà '5 '5+#
  + (+#"&'& 
 +&' +#+ '-'  + #+ 
)#-""+&'+
-+ +-'-+7''
-','" - )'
#+ '+ -+ '+ + 
### ##  '     
 +#--' )'   
'5 ''##'
       åÞáéìÞà '5 '5+#
 ' (+#  )'#+ '
-+  '+  +  ##  ##  '- 
-+ -'''+ ''
(+#  &' '')#  
'5 +  ## #' ''
+# (+#~#**+ --5+ 
'' #(+#  --' 
'  #'     #'#  -- '  
 +# ''5~' '  
&-''
       åÞáéìÞàòÛ '5 '5 )'
    (+##" '+ 
'-' +#'+##
ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
        Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 11 of 20



#-##'- #-"   
+# -'#  &
  '5 + ##    #**
'
       åÞáéìÞà  & '+ 
-+ '+ )' (+#'5 
&'#**%&'#(  #**
+ '- &  '5 # 
# --'-
'+ -+ '+ '5##--'
+###Ø




ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
        Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 12 of 20



                   ÙÚÛÜÝÞÛßÚÙÜÞàÛáÜâÜÞáÛãâÚäåßæÜçèÛçéßåÜÛ
                     êéåÛÜÝÞÛáéßÜÝÞåÚÛàÙáÜåÙçÜÛéêÛÜÞëâáÛ
                              ÝéßáÜéÚÛàÙìÙáÙéÚÛ
ÙíÛîïðÛ                                ÷Û
                                       ÷Û ÛÛÛçøùïÛÚöóÛúûüýýýýýýÛ
ñéÚÜçéÛéêêáÝéåÞòÛÙÚçó                 ÷Û
                                       ÷Û çþø0õïîÛúúÛ
       àïôõöîóÛ                        ÷Û
                                       ÷Û
                ÙáÜÛéêÛçåÞàÙÜéåáÛ}ÝéÛÝâìÞÛÜÝÞÛ2ÛâåÞáÜÛÛ
                  ßÚáÞçßåÞàÛçâÙñáÛâÚàÛâåÞÛÚéÜÛÙÚáÙàÞåáÛ
       Ð6# #  !"
 ¡¢£¤¥¦§£¨©ª£
'+  + ~#Ò''
Ð#Ò1!"ØÐ ##+ ''&
 ØÐÐ#Ò1## '*Ó"
'%&'#'-  ~#**ØÐÐ#Ò1
  ' *"#+   !  **$ØÏØ(Ø
***"Ò"''''  ''
# +-  Ò- ''+Ø Ð
+ #  Ð#Ò1  ' +  -
 Ø.-  ~- -+'
5 +  Ø Ð'  + 
 - '7'#'  ' ~-  
 #+' '+Ø




ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
                   Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 13 of 20

 ·¹̧¹º̧»¼¸½º̧¾¿ÀÁÂ»¸¿º»¿Ã̧Äº»¸¾Å»¼ÄÆÂ½ÄÇ
 ÈÉÊËÌÍÎÏÐÉÑÌÎËÒÌÓÔÔÕÖÌÍÉ×ØÎÒÙ
 ÚÎÛËÉÜÝËÏËÉÕÞÏÎßÍàáËÒâãÌàÍËÔÌÍËÖÉäÝÌàËÖÉÍÎÈÛÕËÍÛÒËÌÔåÉæÏÕ
                                            çÝËÏËÉè
 ãÏÕÉÎàÐÊÉÍçÛÔßÎÌéÎèä                                                                                       êëãÖÉÒßÛÔËÖÛÕÛÕÏÎ
                                                                                                              ÏÐÉÎÜÉÜÔÛìÛÎí

ÓÔÔÛÒÛÏìîÌÍÐïðñ
ò¼Âó»ÄÀôô¿Àò¼Âó»ÄÀõòÂ½Ä½Çö¸½»¿¾òÀÄÃ¸»¿À½÷¼¿øÂùÄ»¼ÄúûöÂÀüÄ½»
ýº½ÄÆþÀÄÃò¹ÂÁ̧½ÂºÃ0ÀÄ1¿»2º½Ã̧ÄÀ½                                                                                           ôú3ô4
0¹̧½»¿¾ÆÀÄÃ¸»¿À½¼¿¹Ãº̧ü»¼Äúû¹ÂÀüÄ½»þº½ÄÆþÀÄÃÆ¹ÂÁ̧½Áþ½»5Ä¾¹̧ÄÃº̧Âò¼Âó»ÄÀôô¿Àò¼Âó»ÄÀõÆÂ½Ä62ºÆ¹þÃÄÆ¹ÂÁ̧½7¼Æ̧¼»¼Ä
ÃÄ5»¿ÀÃ¸½óþ»Ä½68¿º¿»º̧Æ¹þÃÄÆ¹ÂÁ̧½5ÅÂºÅóÄÀ½¿º¿ÀÄº»¸»Å7¼¿¸½Âº9 9 Â½ÃÄ¾º̧ÄÃº̧ôôý66ò6ôûôô60¹½¿Ã¿º¿»
 º̧Æ¹þÃÄÆ¹ÂÁ̧½5Å½ÄÆþÀÄÃÆÀÄÃ¸»¿À½þº¹Ä½½»¼Äþº½ÄÆþÀÄÃÆ¹ÂÁ̧ÀÄ½þ¹»º̧ü¾À¿Áº̧ÂÃÄþÂ»ÄÆ¿¹¹Â»ÄÀÂ¹ùÂ¹þÄó¹ÂÆÄ½»¼ÄÆÀÄÃ¸»¿À
ÂÁ¿ºü»¼Ä¼¿¹ÃÄÀ½¿¾»¼Äúû¹ÂÀüÄ½»þº½ÄÆþÀÄÃÆ¹ÂÁ̧½6
                                                                                                  0Á¿þº»¿¾þº½ÄÆþÀÄÃÆ¹ÂÁ̧
                                                                                             ØÔËÖÉÒìÏÛÐÛÕÔàììâàÎÕÉÒàÍÉÜ×ÔÛììÛÎÌÎìâ
                                                                   1Â»þÀÄ¿¾                    àÎÕÉÒàÍÉÜÒìÏÛÐÏÐÌàÎËÙØÔÒìÏÛÐÛÕ
                                                                   »¼ÄÆ¹ÂÁ̧                      áÏÍËÛÏììâÕÉÒàÍÉÜ×ÔÛììÛÎËÌËÏìÒìÏÛÐ
                                                                 çÔÌÍÉ æÏÐá ì
                                                                            É×  2ºÃ Æ̧
                                                                                     Â »
                                                                                       Ä¸ ¾     ÏÐÌàÎËÏÎÜÜÉÜàÒËÛÌÎÔÌÍÏìàÉÌÔ
  1ÂÁÄ¿¾ÆÀÄÃ¸»¿ÀÂºÃ                                                      ÉÊËÕ× Æ¹ÂÁ̧¸½            ÒÌììÏËÉÍÏìÌÍÕÉËÌÔÔËÌÒÏìÒàìÏËÉ
    Æ¿Áó¹Ä»ÄÁÂ¹̧º̧ü 1ÂÁÄ»Ä¹Äó¼¿ºÄºþÁ5ÄÀÂºÃÄÁÂ¹̧ÂÃÃÀÄ½½¿¾ ËÊÍÏÏÜÎÉÜ  ßìÌÏÎÕ× Æ¿º»º̧üÄº» ¿»Â¹ àÎÕÉÒàÍÉÜÒìÏÛÐÙ
 ÂÃÃÀÄ½½º̧Æ¹þÃº̧üó̧                  ÆÀÄÃ¸»¿ÀÆ¿º»ÂÆ»            áÍÌÔÉÕÕÛÌÎÏì þº¹̧þÃ̧Â»ÄÃ           8ÄÃþÆ»¸
           Æ¿ÃÄ                                                  ÕÉÍÛÒÉÕ×ÏÎÜ ¿ÀÃ¸½óþ»ÄÃ Æ¹Â¸¾Á̧ ¿º¾¿À
                                                                  íÌÉÍÎÐÉÎË                 óÂÀ»Â̧¹ ùÆÂ¿¹¹þÄ¿¾ ýº½ÄÆþÀÄÃÆ¹ÂÁ̧
                                                                   ÒÌÎËÍÏÒËÕè                  ¹Å Â¹¹Â¿À    »ÄÀ
                                                                                             ½ÄÆþÀ ½Ä»¿¾¾
                                                                                               ÄÃ
                      ÞÉÎÞÌÍÜÉìÌÎ                                                                                      (××"!Ù&
      ÞÌììÛÎíÉÍ       ÈÉáËï×ÙÓÙÞÌæñð×ÞÛÍÐÛÎíÖÏÐ× 
 ÝÖÛáâÏÍÜÕ×          !ïñ"#ï                                 åÍÏÜÉ
      ÌÒßáÌÍË×ã    $ÐÏÛìäÞÉÎÞ%ÊÌììÛÎíÉÍÕÖÛáâÏÍÜÕÙÒÌÐ
                      åÉìäç&'!è"&#ððï
                                                                                                                       (×ðïï×ñïïÙ&&
      )*+ÏÎÜ ÎÜ ÉííâÑÏÎàÉì
ï ÑÏÍÛÎÉîÌÌÜÈÛÕËÙ× ÓÞÌæ"ñ&ÑÌÍíÏÎãÛËâ× ð'ð                    åÍÏÜÉ
      ØÎÒÙ            $ÐÏÛìäáÉííâ%í,ÔÌÌÜÙÒÌÐ
                      ãÖÍÛÕËÛÎÉÞÍàÎÉË                                                                                  (!'ï×'Ù""
 ÓÛ    ìÝËÏËÉÕÝßÏíÛË ÓÞÌæ!ñ&'-ÉéÓÍìÉÏÎÕ× ð!ñ
      ÝÐÏËÒÌ×ã      $ÐÏÛìäÒÖÍÛÕËÛÎÉÙÊÍàÎÉË%ÌÛìÕËÏËÉÕÙÒÌÐ       åÍÏÜÉ
                      åÉìäç&'!è'"'#ð"ð
                      ÝÖÏÎËÏì.ÌíÉÍ                                                                                     (ïð×!'Ù&
ñ Ýâ  îÌÍÒÉÌéÉÍ      ÙÓÙÞÌæ!ï'×/ÌàÕËÌÎ×å0ï"ï
         ÕËÉÐÕ        $ÐÏÛìäÕÖÏÎËÏìÙÍÌíÉÍ%ÔÌÍÒÉáÌéÉÍÕâÕËÉÐÕÙÒÌÐ åÍÏÜÉ
                      åÉìäç!ðñèñ""#'ðð
                      +àÕËÛÎÉÈÏÛÕ                                                                                     ("'×ðÙ
                      ðïÓ1  -$  È.Ø  2$× Þ.$   Ú0Þ.Ø  È)$×
! ÝÌ     àËÖÉÍÎîìàÛÜ ð!
      ÌéÉÍ×ã                                                  åÍÏÜÉ
                      $ÐÏÛìäÏÜÐÛÎ%ÕÌàËÖÉÍÎÔìàÛÜáÌéÉÍììÒÙÒÌÐ
                      åÉìä#ññï#ï
                                                                                                                       (!×"ð!Ùðð
                      3ÏÜÉãÏÎËÍÉììÉ
" .ÉÎÌÏËÛÌÎÕ×ØÎÒÙ "'!$ÑÏÛÎÝËÍÉÉË×ãàËÓÔÔ× ðñ!               åÍÏÜÉ
                      åÉì4ç&'!è"ï#'&''

«¬­®°̄±²²³´²³µ¶³
                   Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 14 of 20

                                                                                                   0Á¿þº»¿¾þº½ÄÆþÀÄÃÆ¹ÂÁ̧
                                                                                              ØÔËÖÉÒìÏÛÐÛÕÔàììâàÎÕÉÒàÍÉÜ×ÔÛììÛÎÌÎìâ
                                                                    1Â»þÀÄ¿¾                    àÎÕÉÒàÍÉÜÒìÏÛÐÏÐÌàÎËÙØÔÒìÏÛÐÛÕ
                                                                    »¼ÄÆ¹ÂÁ̧                      áÏÍËÛÏììâÕÉÒàÍÉÜ×ÔÛììÛÎËÌËÏìÒìÏÛÐ
                                                                  çÔÌÍÉæÏÐáìÉ×   2ºÃ Æ̧Â»Ä¸¾     Ï ÐÌàÎËÏÎÜÜÉÜàÒËÛÌÎÔÌÍÏìàÉÌÔ
 1ÂÁÄ¿¾ÆÀÄÃ¸»¿ÀÂºÃ                                                        ÉÊËÕ× Æ¹ÂÁ̧¸½            ÒÌììÏËÉÍÏìÌÍÕÉËÌÔÔËÌÒÏìÒàìÏËÉ
   Æ¿Áó¹Ä»ÄÁÂ¹̧º̧ü 1ÂÁÄ»Ä¹Äó¼¿ºÄºþÁ5ÄÀÂºÃÄÁÂ¹̧ÂÃÃÀÄ½½¿¾ ËÊÍÏÏÜÎÉÜ    ßìÌÏÎ Õ×  Æ¿º» º̧
                                                                                       ü Äº»               àÎÕÉÒàÍÉÜÒìÏÛÐÙ
 ÂÃÃÀÄ½½º̧Æ¹þÃº̧üó̧                       ÆÀÄÃ¸»¿ÀÆ¿º»ÂÆ»        áÍÌÔ
                                                                      É ÕÕÛÌÎÏì þº¹̧
                                                                                    þ Ã̧Â»
                                                                                          ÄÃ  ¿»Â¹ 8ÄÃþÆ»¸
           Æ¿ÃÄ                                                   ÕÉÍÛÒÉÕ×ÏÎÜ ¿ÀÃ¸½óþ»ÄÃ Æ¹Â¸¾Á̧ ¿º¾¿À
                                                                   íÌÉÍÎÐÉÎË                 óÂÀ»Â̧¹ ùÆÂ¿¹¹þÄ¿¾ ýº½ÄÆþÀÄÃÆ¹ÂÁ̧
                                                                    ÒÌÎËÍÏÒËÕè                  ¹Å Â¹¹Â¿À     »ÄÀ
                                                                                              ½ÄÆþÀ ½Ä»¿¾¾
                                                                                                ÄÃ
                         ãÖÍÛÕËÛÎÉ.ÌÜÍÛíàÉ                                                                              (&ï×ð"Ùï
    ÞìàÉéÏËÉÍ.àÊÊÉÍ ÓÈ. 3$.&ð×/ÓÚÑ × ð"
 *)Ï                                                             åÍÏÜÉ
           ÕßÉË          $ÐÏÛìäÒÙÍÌÜÍÛíàÉ%ÊìàÉéÏËÉÍÍàÊÊÉÍÙÒÌÐ
                         åÉìä!ðñ#'!#ïñðð
                                                                                                                        (''×&ñÙ"'
                         +ÏÎÏãì   ÉÐÌ  ÎÕ
' ÕÒÉÎÜ×ã              ï!/éâï×ÝàÛËÉïðð×ÑÏÜÛÕÌÎÛììÉ× ðññ åÍÏÜÉ
                         $ÐÏÛÛìä+ÏÎÏ%ÌáÉÕÕíÙÒÌÐ
                         åÉìäç!ðñèï#ñ&ð
                         ÈÌÎÎÏ/àÐáÖÍÉâÕ                                                                                 ('×!"Ù
& îàíÍÌãÖÏÎÒÉ×ØÎÒÙ Ù      ÓÙÞÌæïððïñ×/ÌàÕËÌÎ×å0ï"#ðïñ
                         $ÐÏÛì4ÜÖàÐáÖÍÉâÕ%ÔàíÍÌÙÒÌÐ               åÍÏÜÉ
                         åÉìäçèñ"#ðð
                         ÑÉìÛÕÕÏÛÉÍÒÉ                                                                                  (×!ïïÙ"ð
ð ÝÏ  ÔÉËâ*åÍÏÛÎÛÎí ï&2ÉÎËàÍÉÞìÜÙ/ÌàÐÏ× ð"ð
    ãÌÎÕàì               $ÐÏÛìäÐáÛÉÍÒÉ%ÕÏÔÉ#5ÌÎÉÙÒÌÐ              åÍÏÜÉ
                         åÉìäç&'!è'"'#!!
                         ãÖÍÛÕËÛãÖÉÍÏÐÛÉ                                                                                (ð×ñ!Ùï!
 Í ÉÒÛÕÛÌÎãÍÏÎÉ* ÓÞÓ0&× .ÓÝ$× ð!
    /âÜÍÏàìÛÒÕ×ã $ÐÏÛìäÒÖÍÛÕËÛÒ%áÍÉÒÛÕÛÌÎÒÍÏÎÉÙÎÉË              åÍÏÜÉ
                         åÉì4&'!#"&#!"&
                         ÝÏÎÜÍÏ/ÏÎßÕ                                                                                    ("×'ñÙ
ï Þì ÏÒßÖÏéß
    ÈÏËÏÒÌÐ
                         ðð$ÎËÉÍáÍÛÕÉÞìÜÙÏÔÏâÉËËÉ× ð!ð"
                         $ÐÏÛìäÕÏÎÜÍÏÖ%ÊìÏÒßÖÏéßÜÒÙÒÌÐ            åÍÏÜÉ
                         åÉìäç'è!!&#&!&
                         ÝÖÏéÎÑÌÌÍÉ                                                                                     ("×'ïÙðð
 ÉÕÊÕìÌÏÒÎÛÏÒ*        ïØÎËÍÏÒÌÕËÏìÈÍÛÉ×/ÌàÐÏ× ð"
                ËÉÕ×ØÎÒÙ $ÐÏÛìäÕÐÌÌÍÉ%ìÉÊìÏÎÒÏÎÜÏÕÕÌÒÛÏËÉÕÙÒÌÐ    åÍÏÜÉ
                         åÉìäç'ððèï&ñ#ï"!
                         +ÉÕÕÛÒÏÓÕËÉÍ                                                                                   (!ï×'Ùðð
ñ îáÕ#-ÉéÓÍìÉÏÎÕ $ÐÏ    ÙÓÙÞÌæ!ï'×/ÌàÕËÌÎ×å0ï"ï              åÍÏÜÉ
                              ÛìäÏÒÒÌàÎË%ÔáÕ#àÕÏÙÒÌÐ
                         åÉìäç!ðñèññ"#'ðð
                                                                                                                        (ñ'×'Ù
                         ÝÒÌ Ë
                             Ë  ÑÒ Ö É Í
                                        ÕÌÎ
! ÑÏ   ÍËÛÎ$ÎÉÍíâ ÓÞÌæ&!")ÍÏáÉÛÎÉ×å0"ð&&
    ÝÉÍÛÒÉÕ×ã                                                  åÍÏÜÉ
                         $ÐÏÛìäÕÒÌËËÙÐÒáÖÉÍÕÌÎ%ÐÏÍËÛÎÐìáÙÒÌÐ
                         åÏßÛËËÏÞÌàÜÍÉÏàæ                                                                               (ñ"×"ð!Ùð
" ã#ÌÍË6ÝËÌÎÉ×ã $ÐÏ  ÈÉáËï×ÙÓÙÞÌæñ'"&×/ÌàÕËÌÎ×å0ïð#ñ'"& åÍÏÜÉ
                              ÛìäËÏßßÛËÏÙÊÌàÜÍÉÏàæ%ÒÖÌàÉÕËÙÒÌÐ
                         åÉìäç&'!è"ð#ñ'"



«¬­®°̄±²²³´²³µ¶³
                   Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 15 of 20

                                                                                                0Á¿þº»¿¾þº½ÄÆþÀÄÃÆ¹ÂÁ̧
                                                                                          ØÔËÖÉÒìÏÛÐÛÕÔàììâàÎÕÉÒàÍÉÜ×ÔÛììÛÎÌÎìâ
                                                                 1Â»þÀÄ¿¾                    àÎÕÉÒàÍÉÜÒìÏÛÐÏÐÌàÎËÙØÔÒìÏÛÐÛÕ
                                                                 »¼ÄÆ¹ÂÁ̧                     áÏÍËÛÏììâÕÉÒàÍÉÜ×ÔÛììÛÎËÌËÏìÒìÏÛÐ
                                                              çÔÌÍÉæÏÐáìÉ×   2ºÃ Æ̧Â»Ä¸¾      ÏÐÌàÎËÏÎÜÜÉÜàÒËÛÌÎÔÌÍÏìàÉÌÔ
1ÂÁÄ¿¾ÆÀÄÃ¸»¿ÀÂºÃ                                                      ÉÊËÕ× Æ¹ÂÁ̧¸½            ÒÌììÏËÉÍÏìÌÍÕÉËÌÔÔËÌÒÏìÒàìÏËÉ
  Æ¿Áó¹Ä»ÄÁÂ¹̧º̧ü      1ÂÁÄ»Ä¹Äó¼¿ºÄºþÁ5ÄÀÂºÃÄÁÂ¹̧ÂÃÃÀÄ½½¿¾ ËÊÍÏÏÜÎÉÜ
                                                                     ßì
                                                                      ÌÏÎ Õ× Æ¿º» º̧
                                                                                   ü Äº»
                                                                                                       àÎÕÉÒàÍÉÜÒìÏÛÐÙ
ÂÃÃÀÄ½½º̧Æ¹þÃº̧üó̧                    ÆÀÄÃ¸»¿ÀÆ¿º»ÂÆ»        áÍÌÔÉÕÕÛÌÎÏì þº¹̧þÃ̧Â»ÄÃ Æ¹¿»Â¹ 8ÄÃþÆ»¸
       Æ¿ÃÄ                                                   ÕÉÍÛÒÉÕ×ÏÎÜ ¿ÀÃ¸½óþ»ÄÃ Â¸¾Á̧ ¿º¾¿À
                                                               íÌÉÍÎÐÉÎË                 óÂÀ»Â̧¹ ùÆÂ¿¹¹þÄ¿¾ ýº½ÄÆþÀÄÃÆ¹ÂÁ̧
                                                                 ÒÌÎËÍÏÒËÕè                  ¹Å Â¹¹Â¿À    »ÄÀ
                                                                                          ½ÄÆþÀ ½Ä»¿¾¾
                                                                                             ÄÃ
                       )ÏâÉ ÍÒàÍÛ                                                                                   (ñ"×!Ù
   åÖÉ/ÛììÉÍ
 ãÌ                  ÙÓÙÞÌæ&!ññ× ËìÏÎËÏ×) &#!ññ    åÍÏÜÉ
     ÐáÏÎÛÉÕ×ØÎÒÙ      $ÐÏÛìäÜÏÍÒàÍÛ%ÖÛììÉÍÒÌÐáÏÎÛÉÕÙÒÌÐ
                       åÉìäçï!è""#ï!
                       ÑÏÎÜâÌàáÉ                                                                                   (ñ×&ïÙðð
' -ÏàËÛÒÏì$ìÉÒËÍÛÒ×
   ã
                       "'&"3ÉÕËÏÍß É×/ÌàÐÏ× ð"ñ
                       $ÐÏÛìäÎÏàËÛÒÏìÉìÉÒËÍÛÒ%âÏÖÌÌÙÒÌÐ      åÍÏÜÉ
                       åÉìäç&'!è&#ñï&'
                                                                                                                    (ñ×"ðïÙðð
   ÝàáÍÉÐÉ             &!ÈØÝå.ØÞÚåÓ.Ý.Ó3×/ . / -× ðï åÍÏÜÉ
& ØÎËÉíÍÏËÉÜ          åÉìä!ðñ#ñ"ñ#ð!ï'
   åÉÒÖÎÌìÌíâ×ØÎÒÙ
                                                                                                                  (&×ñÙ!ð
                    ÙÓÙÞÌæ'ðï×/ÌàÐÏ× ð"
ïð 2ÏÒÒÌÑÏÍÛÎÉ×ØÎÒÙ åÉ                                            åÍÏÜÉ
                      ìäç&'!è'!#ññðð




«¬­®°̄±²²³´²³µ¶³
                        Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 16 of 20

=óó=ôKGGNKMNJzK[NKMSLI~HJKLMNJLNKPEMJKSRNJzENFH[ENHMPNJzK[NSKGKMõN
    Ð¢?@=î;A==ßö÷
    ¥              ß¥ßßßø
                        ßù
                         ßúß÷
                            ßßû
                              ßüý
                               ßßý
                                 ßþß0
                                    ßß÷ß1ß2
                                          ß3
                                           ßû
                                            ß4
                                             ßøßú
                                                ß5
                                                 ßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßßß==
    ¥                       ¥                6÷
    ï9=Þ;=Æ;§@:è=ð?@=8?@=©=ßß ßß7
                                                 ßßù0
                                                    ß2  ßßßßßßßßßßßßß=Ð9@9:=?8=ÂßÞß82
                                                     ßß1ø                               ßß9ßßßþßßß=
                                                                                       ;Ç=
    ð;=A¢@=ÂÝÚ²ñ¼¿ò¼Ç©= ßßßßßßßßßßßßßßßßßßßßßßßßß===


7889:9;<=>?@A=BCB=
\]^_`a`bcdefgeh]afi]e`_bjfdkfi]almajfkdafndeopehcqchm`_f\]rbdasf                                                                                            f
                                                                                                                                                        tuvtw
xMNKMPKYKPUHGNyzLNK[NHUJzLIK{EPNJLNHFJNLMNZEzHGSNLSNHNMLMWKMPKYKPUHGNPEZJLI|N[UFzNH[NHNFLI}LIHJKLMNLIN}HIJMEI[zK}|N~U[JN[KMNHMPN[UZ~KJN
JzK[NSLI~NSLINJzEN[FzEPUGE[NLSNH[[EJ[NHMPNGKHZKGKJKE[|NHMRNLJzEINPLFU~EMJNJzHJNIEUKIE[NHNPEFGHIHJKLMNJzHJNK[NMLJNKMFGUPEPNKMNJzENPLFU~EMJ|N
HMPNHMRNH~EMP~EMJ[NLSNJzL[ENPLFU~EMJ[NzK[NSLI~N~U[JN[JHJENJzENKMPKYKPUHG[N}L[KJKLMNLINIEGHJKLM[zK}NJLNJzENPEZJLI|NJzENKPEMJKJRNLSNJzEN
PLFU~EMJ|NHMPNJzENPHJENNHM IU}JFRNUGE[NtNHMPNttN
xVXVNWWNHM IU}JFRNSIHUPNK[NHN[EIKLU[NFIK~ENNH KMNHNSHG[EN[JHJE~EMJ|NFLMFEHGKMN}IL}EIJR|NLINLZJHKMKMN~LMERNLIN}IL}EIJRNZRNSIHUPNKMN
FLMMEFJKLMNyKJzNHNZHM IU}JFRNFH[ENFHMNIE[UGJNKMNSKME[NU}NJLNw|NLINK~}IK[LM~EMJNSLINU}NJLNuNREHI[|NLINZLJzNNtNONNtwu|Ntt|N
twt|NHMPNwtN

f             \]^_`a`bcdef`ehfsce`bma]f

           =;A==@9=;?@=?889:@=?@=;=;?@9=; =?8==:?@?@;9?¡=;=AA¢@=?@=;=;?@9=; =?8==;@@9¡=?@=
           ;?@=99£9;<=@£9 =;=;=@@;9£=?8==¢?@=9=9=:;¤¥
           =;£=¦;A9==98?@A;9?=9==?:A=::§=¢<?¨=;==;£=;=@;?;¢<=¢<98=;==98?@A;9?=9=@=;=:?@@:©¥
           ª=«¬­®¯°±®²³µ́¶²³··®¸·¹º®»±²»¼¯²½®¾·¿¼»±²½¾¿À®¾Á̧=Â7889:9;<=>?@A=BCÃÄÅÆÇ=
           ª=«¬­®¯°±®²È¶²É¾®¯Ȩ̂¿¾·²Ë­¿²Ì»Í®²É±»ÊÎ·²«®¬°¾®¯²ÏÁ²½¾¿À®¾Á̧=Â7889:9;<=>?@A=BCÃÐÇ=
           ª=«¬­®¯°±®²ÑÒ́¶²É¾®¯Ȩ̂¿¾·²Ë­¿²Ì»Í®²Ó¼·®¬°¾®¯²É±»ÊÎ·=Â7889:9;<=>?@A=BCÃÔÅ>Ç=
           ª=«¬­®¯°±®²Õ¶²ÑÖ®¬°¸¿¾Á²É¿¼¸¾»¬¸·²»¼¯²Ó¼®ÖÀÊ¾®¯²×®»·®·=Â7889:9;<=>?@A=BCÃØÇ=
           ª=«¬­®¯°±®²Ì¶²É¿¯®Ï¸¿¾·²Â7889:9;<=>?@A=BCÃÙÇ=
           ª=«°ÎÎ»¾Á²¿Ú²³··®¸·²»¼¯²×Ê»ÏÊ±Ȩ̂Ê®·²Ú¿¾²Û¿¼ÜÝ¼¯ÊÍÊ̄°»±·=Â7889:9;<=>?@A=BCÃÞAÇ=
           ª=ÄA=«¬­®¯°±®=ßßßß=
           ª=
           9 É­»À¸®¾²àà²¿¾²É­»À¸®¾²á²É»·®·¶²×Ê·²̧¿Ú²É¾®¯Ȩ̂¿¾·²Ë­¿²Ì»Í®²̧­®²âã²×»¾ä®·²̧Ó¼·®¬°¾®¯²É±»ÊÎ·²»¼¯²³¾®²Û¿²̧Ý¼·Ê̄®¾·=Â7889:9;<=>?@A=BCåÇ=
           ª=7@=?:A=;=@æ9@=;=:<;@;9?çççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççç¥=

           =:<;@=@=;<è=?8=@é@è=;==8?@ ?9 =9=@=;=:?@@:¤===
           Ô¦:=?=ççççç
           = =
                             çç
                               çççç
                                    ççç¥
                       ëë=Å=ÐÐ=Å=ìììì==
                                                                ê   ççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççççç=
                                                                     Þ9;@=?8=99£9;<=99 =?=¢;<8=?8=¢?@=

¥                                                                    ç2
                                                                      ççç1
                                                                         ç2ç
                                                                            ççû5
                                                                               çççûç÷
                                                                                     ççç7çç1
                                                                                            ç2
                                                                                             ççç7ç9
                                                                                                  çççççççççççççççççççççççççççççççççççççççççççççççççç¥
==                                                                   í@9=;A=
=                                                                    ç0
                                                                      ççç
                                                                         ç2çý
                                                                            çû
                                                                              çççøççø
                                                                                    ççúç
                                                                                        ççû
                                                                                           çüý
                                                                                            çççýçú
                                                                                                  ç2
                                                                                                   çç1ççççççççççççç¥
¥
      =              ==                                              í?99?=?@=@<;9?9=?=¢?@

7889:9;<=>?@A=BCB=                             DEFGHIHJKLMNOMPEINQEMHGJRNLSNQEITUIRNSLINVLMWXMPKYKPUHGNDEZJLI[=                            =
        Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 17 of 20




                   ÙÚÛÜÝÞÛßÚÙÜÞàÛáÜâÜÞáÛãâÚäåßæÜçèÛçéßåÜÛ
                     êéåÛÜÝÞÛáéßÜÝÞåÚÛàÙáÜåÙçÜÛéêÛÜÞëâáÛ
                              ÝéßáÜéÚÛàÙìÙáÙéÚÛ
ÙíÛîïðÛ                             ÷Û
                                    ÷Û ÛÛÛçøùïÛÚöóÛúûüýýýýýýÛ
ñéÚÜçéÛéêêáÝéåÞòÛÙÚçó              ÷Û
                                    ÷Û çþø0õïîÛúúÛ
       àïôõöîóÛ                     ÷Û
                                    ÷Û
                  áÜâÜÞñÞÚÜÛéêÛçéåæéåâÜÞÛé}ÚÞåáÝÙæÛÛ
      '' '*Ó"*"ÓÓØ*'%&'#'
'-'5  -# 
' * + Ø
                   áþøîïþö82ïîÛ         æïî6ïíõø3ïÛéíïîùþ10ÛÙíõïîïùõÛ
         1Ø -                                ÓÕØÕÕÓ
         %1 - Ð'Ø*                      *
         (1 - Ð'Ø*                    *




ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 18 of 20




   
        Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 19 of 20



                   ÙÚÛÜÝÞÛßÚÙÜÞàÛáÜâÜÞáÛãâÚäåßæÜçèÛçéßåÜÛ
                     êéåÛÜÝÞÛáéßÜÝÞåÚÛàÙáÜåÙçÜÛéêÛÜÞëâáÛ
                              ÝéßáÜéÚÛàÙìÙáÙéÚÛ
ÙíÛîïðÛ                                   ÷Û
                                          ÷Û ÛÛÛçøùïÛÚöóÛúûüýýýýýýÛ
ñéÚÜçéÛéêêáÝéåÞòÛÙÚçó                    ÷Û
                                          ÷Û çþø0õïîÛúúÛ
       àïôõöîóÛ                           ÷Û
                                          ÷Û
                     ÙáÜÛéêÛÞ!ßÙÜèÛáÞçßåÙÜèÛÝéàÞåáÛ
      '' '%&'#'*Ó"".  /Ø
#-7' 
         Úø3ïÛøí2Ûâ22îïùùÛö9ÛÙíõïîïùõÛÝö82ïîÛ             æïî6ïíõø3ïÛö9ÛÙíõïîïùõùÛÝï82Û
1Ø -                                                        ÓÕØÕÕÓ
%1 - Ð'Ø*                                               *
(1 - Ð'Ø*                                             *
"# -                                                        Ø




ÍÎÏÐÑÒÓÔÔÕÖÔÕ×ØÕ
Case 17-31646 Document 1 Filed in TXSB on 03/17/17 Page 20 of 20




  #$%&'%(#&'
